      Case 5:17-cr-00032-RH-MJF     Document 120     Filed 05/29/18   Page 1 of 2
                                                                              Page 1 of 2




              IN THE UNITED STATES DISTRICT COURT FOR THE
                      NORTHERN DISTRICT OF FLORIDA
                          PANAMA CITY DIVISION


UNITED STATES OF AMERICA

v.                                            CASE NO. 5:17cr32-RH

AMANDA GIOVANNI,

                   Defendant.

________________________________/


             ORDER ON THE MOTION TO SUPPRESS STATEMENTS
               IN RESPONSE TO QUESTIONING IN KURDISTAN


         The defendant Amanda Giovanni has moved to suppress statements she

made in response to questioning in Kurdistan on three occasions: in December

2015, May 2016, and June 2016. The government has acknowledged that the May

and June 2016 statements were involuntary and cannot be introduced at trial for

any purpose. This order denies the motion to suppress the December 2015

statements.

         Those statements were made in response to questioning by an agent of the

Federal Bureau of Investigation and a State Department official. The statements

were voluntarily given after warnings complying with Miranda v. Arizona, 384

U.S. 436 (1966), tempered only by accurate, noncoercive information about the



Case No. 5:17cr32-RH
      Case 5:17-cr-00032-RH-MJF      Document 120     Filed 05/29/18    Page 2 of 2
                                                                                  Page 2 of 2




delay that might be occasioned if Ms. Giovanni invoked her right to speak with an

attorney.

         For these reasons and those set out on the record of the suppression hearing

on May 16, 2018,

         IT IS ORDERED:

         1. The motion to suppress statements made in Kurdistan, part of ECF

No. 74, is granted in part and denied in part.

         2. Unless authorized on a request made outside the jury’s hearing, Ms.

Giovanni’s statements in response to questioning while detained in May and June

2016 (or at other times while detained in a Kurdish prison in the same manner as in

May and June 2016) must not be mentioned in the jury’s hearing or suggested to

the jury in any way.

         3. Ms. Giovanni’s statements in response to questioning in December 2015

are not excluded.

         SO ORDERED on May 29, 2018.

                                         s/Robert L. Hinkle
                                         United States District Judge




Case No. 5:17cr32-RH
